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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 NETLIST, INC.,                                  §
                                                 §
         Plaintiff,                              §
                                                 §    CIV. A. NO. 2:22-CV-00293-JRG
                  v.                             §
                                                 §    (Lead Case)
 SAMSUNG ELECTRONICS CO, LTD, ET                 §
 AL.,                                            §
                                                 §
         Defendants.                             §
                                                 §
 NETLIST, INC.,                                  §
                                                 §
         Plaintiff,                              §
                                                 §    CIV. A. NO. 2:22-CV-00294-JRG
                  v.                             §
                                                 §    (Member Case)
 MICRON TECHNOLOGY, INC., ET AL.,                §
                                                 §
         Defendants.                             §

                               ORDER OF SPECIAL MASTER

       By Order of the Court dated December 8, 2023 (Dkt. No. 269), the undersigned was

appointed Special Master. Under the provisions of that Order, the Special Master held a status

conference with the parties via remote teleconference on December 21, 2023 to address the

conduct of the Special Master proceedings, including setting a hearing date. This order summarizes

the Special Master’s guidance to the parties.

1.     Hearing Regarding Pending Discovery Disputes

       The Special Master shall conduct a hearing on the discovery motions noted in the Court’s

Order Appointing Special Master: Dkt. Nos. 128, 139, 142, 158, 176, 193, 199, 202, 218, 220,

221, 222, 223, 224, 225, and 226. (See Dkt. No. 269 at 2). The hearing shall be held on Friday,

January 5, 2024, at 10:00 a.m. Central Time, via Zoom teleconference. The Special Master does

not anticipate that the hearing will continue for more than one day.
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2.     Plaintiff’s Motion to Compel Micron Defendants to De-Designate Portions of
       Deposition Testimony of Scott Cyr (Dkt. No. 274)

       Prior to the December 21, 2023 status conference, counsel for Plaintiff raised an issue

regarding the Special Master’s authority to address Plaintiff’s Motion to Compel Micron

Defendants to De-Designate Portions of Deposition Testimony of Scott Cyr (Dkt. No. 274). The

Special Master advised the parties that, absent further order of the Court, the only motions to be

addressed by the Special Master would be those specifically noted in the Order Appointing Special

Master. Accordingly, absent further order of the Court, the Special Master does not intend to

address Plaintiff’s Motion to Compel Micron Defendants to De-Designate Portions of Deposition

Testimony of Scott Cyr (Dkt. No. 274).

3.     Joint Status Report

       The parties are ordered to submit to the Special Master, no later than 12:00 p.m. on

Thursday, January 4, 2023, a joint status report addressing the following issues:

              Updates regarding the narrowing of disputes within the scope of the Special
               Master’s appointment, including any motions rendered moot or otherwise resolved
               by agreement of the parties, following good faith efforts by the parties to meet and
               confer in advance of the January 5 hearing;

              Agreement of the parties regarding the selection of and provision for a court
               reporter for the January 5 hearing;

              Plaintiff and Samsung’s positions regarding the impact of the Ninth Circuit Court
               of Appeals decision in Netlist Inc. v. Samsung Electronics Co., Ltd., No. 22-55209,
               (Dkt. No. 77), (9th Cir. Oct. 17, 2023) on the disputes to be addressed by the Special
               Master; and

              Updates regarding the parties’ meet and confer efforts regarding division of the
               Special Master’s compensation, bearing in mind that the majority of disputes within
               the scope of the Special Master’s appointment are between Plaintiff and Samsung.




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4.     Submission of Filings to Special Master

       The parties are ordered to provide hard copies of all motions, responses, and other briefs

to the Special Master no later than December 29, 2023. Exhibits attached to the filed briefs need

not be provided in hard copy. Hard copies shall be sent to the following address:


       Folsom ADR PLLC
       6002 B Summerfield Drive
       Texarkana, Texas 75503


       Subject to the stipulation of the parties regarding the applicability of the Court’s Protective

Order (Dkt. No. 60) to consultants retained by the Special Master pursuant to the Order Appointing

Special Master (see Dkt. No. 269 at 6), the parties are further ordered to provide hard copies of all

briefing and electronic copies of all briefing and exhibits to Mr. William Nilsson of Jackson

Walker LLP no later than December 29, 2023. Hard copies shall be sent to the following address:

       William Nilsson
       Jackson Walker LLP
       2323 Ross Ave., Suite 600
       Dallas, Texas 75201



       Signed this 22nd day of December 2023.

                                                      /s/ David Folsom
                                                      David Folsom
                                                      Special Master
                                                      TXBN: 07210800
                                                      FOLSOM ADR PLLC
                                                      6002-B Summerfield Drive
                                                      Texarkana, Texas 75503
                                                      Telephone: (903) 277-7303
                                                      E-mail: david@folsomadr.com




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                              CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(a) on this 22nd day of December 2023. As such, this document

was served on all counsel who are deemed to have consented to electronic service. Local Rule

CV-5(a)(3)(A).




                                                 /s/ David Folsom
                                                 David Folsom




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